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        '                      UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK

                                              - X

     '      UNITED STATES OF AMERICA,

     '                                              CR-00- 196


     '                  -against-                   United States Courthouse
                                                    Brooklyn, New York
     7      FRANK COPPA, ET AL,


                          Defendants.
                                                    February 2, 2001 2000
                                                    Ten o'clock a.m.
   10       - - - - - - - - - - - - - - X
                                       TRANSCRIPT OF PROCEEDINGS

   ''
   12       APPEAR.11.NCES,
                               BEFORE THE HONORABLE I.      LEO :aLASSER
                                    UNITED STATES DISTRICT JUDGE


   13       For the Plaintiff:           LORETTA E. LYNCH
                                         United States Attorney

   ''                                    BY:    ERIC CORNGOLD
                                         Assistant United States Attorney
   15                                    One Pierrepont Pla~a
                                         Brooklyn, New York 11201

   ''
   17       For the Defendants:          MICHAEL ROSEN, ESQ
                                         For Defendant Garafola

   ,,                                    J. BRIAN HANSBURY, ESQ.
                                         For Defendant MonteveccCi

   20                                    JOSEPH GIANNINI, ESQ.
                                         For Defendant Persico

   ''                                    ANDREW WEINSTEIN,     ESQ.
   22                                    For Defendant Cioffoletti
   22                                    JEFFREY LICHTMAN, ESQ.
  ,,                                     MIRANDA FRITZ, ESQ.
                                         For Defendant Lev
  ,,                                     '!'HOMAS ROTH, ESQ.
                                         For Defendant Ray

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                                                                                   '
        '
      2     APPEARANCES:                 (Continued.)

                                        RICHARD W. BREWSTER, ESQ.
                                        For Defendant Lombardo
      '                                 DAVID SMITH, ESQ.
                                        For Defendant Basile

                                        JOSEPH BENFANTE, ESQ.
                                        For Defendant Temperino
      '
      8

      9     Court Reporter:             Holly Driscoll
                                        225 Cadman Plaza East
                                        Brooklyn, New York
                                        718-260-2469

    ,,''
            Proceedings recorded by mechanical stenography, transcript
    13      produced by computer.


    ''
                                        •    •
    ''
    ''
                     THE CLER.K:    Criminal motions, USA versus Ernest

    19      Montevecchi, Daniel Persico, John cioffoletti, Edward

    20      Garafola, Daniel Lev, Eugene Lombardo, Lawrence Ray and

    21      Abraham Salaman.

   22                Counsel, please state your appearances.

   23                MR, ROSEN:     Good morning, Your Honor, Michael Rosen

   24       for Mr. Garafola.

   2S                MR. BENFANTE:      Joseph Benfante for Mr. Temperino.


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        '               MR. LICHTMAN,    Jeffrey Lichtman and Miranda Fritz for
     2      Mr. Lev.

                        MR. WEINSTEIN:    Andrew Weinstein for Mr. Cioffoletti

     4      appearing on behalf of Mr. LaRossa.

     5                  MR. BREWSTER:    Richard Brewster on behalf of Eugene
     6      Lombardo.

     7                  MR. ROTH,    Thomas Roth on behalf of Mr. Ray.

     8                  MR. HANSBURY:    Brian Hansbury on behalf of
     9      Mr. Montevecchi.
    ,o                  MR. SMITH:   David Smith on behalf of Rocco Basile.             I

    11      would just like the record to be clear we are not officially

    12      retained for this case.       I am appearing to inform Your Honor

    13      as to what will happen in Mr. Basile's other case, he has
    14      another indictment and in that case we've reached an

    15      agreement, he will be entering a plea of guilty next Wednesday

    16      in front of Judge Pollak.      So, I am appearing here to inform

    17      Your Honor that is going to happen in the other case, it will

   18       be covering this case and I just want Your Honor to be aware

   19       of that.

   20                   THE COURT,   Well, is Mr. Basile contemplate retaining

   21       you for this case?

   22                  MR. SMITH:    Your Honor, he has, although until the

   23       plea is actually entered into we have not been formally

   24       retained for this case.      I believe once the plea has been

   25       entered, we'll be retained for this case and the other as


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        1   well.   We are counsel of record for the other case.

        2              THE COURT:    Does Mr. Basile contemplate appearing pro

        3   se in the interim?

        4              MR. SMITH,    I suppose_ he could, Your Honor, he is

        5   here today.

        6              THE COURT:    Would you appear temporarily for

     7      Mr. Basile?

     8                 MR. SMITH:    Yes, Your Honor, I will appear for the

     9      purposes of this proceeding today in this matter.

    10                 THE COURT:    Do we have any other appearances that

    11      have to be noted?

    ,2                 MR. CORNGOLD:    Eric Corngold for the government,

    13      Your Honor.


   ''                  THE COURT:    All right.    I take it everybody is

   15       ready --


   ''17 Jr.            MR. GIANNINI:    Joseph Giannini for Daniel Persico,


   ,,                  THE COURT:    Do we have everybody now?
   ,,                  THE CLERK:    Larry Berman had called, he will not be

   20       present today but he had joined in the motions.
   2,                  THE COURT:    What l think would be a sensible way of

   22       proceeding would be to deal with the motions which raise

   23       discrete issues, for example, with respect to the money

   24       laundering counts.      I think I'm correct in saying that the

   25       motions relating to the money laundering counts were filed by


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       1   Mr. Cioffoletti, Mr. Lev and Mr. Montevecchi.              Why don't we

       2   deal with those counts and then we can proceed to the others

       3   so we don't have everybody standing around with respect to

       4   motions that they have no interest in or haven't made.

      5               So, why don't we proceed in that fashion, why don't

       6   I hear the motley laundering counts, the motions filed by

       7   Mr. Cioffoletti, Mr. Lev and Mr. Montevecchi.              I'll hear

      8    the movants, I'll hear the government in response with respect

      9    to those and then we'll move on to the next one,

                      MR. ROSEN:    Could I make a personal request, Your

    11     Honor, I don't mean to interfere with my colleagues.                I have a

    12     medical situation uptown at around 11:30, 12:00, so if I could

    13     be taken next in order on Mr. Garafola's motions, I would

    14     personally appreciate it.

    15                THE COURT:    Well, as I understand it, Mr. Garafola's

    16     motions are simply a motion to sever.

                      MR. ROSEN:    Correct,
    ''
                      THE COURT:    And you want a suppression?
    ,,'"              MR, ROSEN:    Yes, sir, so I'll be prepared to argue

    20     those.
    ,,                THE COURT:    Well, there are a couple of severance

    22     motions, Mr. Lev, Mr. Nagel and Mr. Ray made severance

    23     motions.    We can do those first and then we can move to the

    24     money laundering.

    25                MR. ROSEN:    Well, I appreciate that.


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         ,'
                       THE CODRT:   Okay.

                       MR. CORNGOLD:    Judge, could I ask if I could sort of

         3    move closer towards the center and use the podium.

     '                 THE COURT,   Why don't we hear the severance motions

         5    of Mr. Lev, Mr. Garafola, Mr. Nagel and Mr. Ray.

     6                 MR. BENFANTE,    Your Honor, the other counsel will
     7        stand back?

     8                 THE COURT:   Yes.

     ,                 Mr. Rosen, do you want to start?

    ,o                 MR. ROSEN,   Yes, I'd like to, Your Honor, ple::o'ase and

    11        most respectfully, I've put in papers suggesting that the law

    12        is very clear in this case of Mr. Garafola that he should be

    13        considered in Your Honor's sound discretion for getting a

    14        severance but it starts with the fact that he's not even

    15        properly joined, most respectfully, under Rule 8 in that as I

•   16        understand Rule 8, that you have to be indicted, the counts

    17        that you're in have to have some connection or relationship,

    18        as the rule says, if they are alleged to have participated in

    19        the same series of acts or transactions constituting offenses

    20        and here if Your Honor looks and you see the chart that we

    21        prepared of the indictment, the government prepared of the

    22        indictment, Mr. Garafola is in the last two counts, an

    23        extortion count and a conspiracy to extort, that has no

    24        relationship, in my humble opinion, to the core, the essence

    25        of this indictment which is a stock fraud case which basically


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             l   alleges that there were entrepreneurs, that there were

             2   brokers, that there were nominees all with the central core

             3   purpose in an enterprise which Mr. Garafola is not named in

             4   to rig the price of four companies, the stock of.those

             5   companies, to put this money offshore and then to reap the

             6   benefits and there's even some allegation that certain

             7   nefarious people are enlisted to offer protection to this

             8   enterprise and Mr. Garafola is not even named in that.                  He's

             9   on the back end in Counts Nineteen and Twenty I believe in

            10   some discrete and different allegation.

            11              And just under Rule 8 there is no connection in fact

            12   or in law, certainly not in the indictment, Judge Glasser,
'··--
            13   that links this conduct of Mr. Garafola to the securities

            14   fraud.    He's not named as having any interest in the

            15   companies, he's not named as a nominee or that he's going to

            16   get a piece of the pie.         Everyone else         I'm not saying the

            17   allegations are true but they did not make any such

            18   allegations against Mr. Garafola.            He's off there, you know,

            19   in the back discretely and I referred, of course, in my papers

           20    to Your Honor's decision in Upton and to Judge Block's

           21    decision in Montgomery that sets forth the eight criteria.

           22               I'm not just moving, Judge Glasser, because there

           23    will be a disparity of proof, there clearly will be where

           24    maybe Mr. Garafola's trial could last three days or five days

           25    or one week and doesn't need, notwithstanding Mr. Corngold's


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                1   stretch, all this talk about securities fraud and offshore

                2   accounts and brokers and, my goodness, this is               and I hate

                3   to say this but this is a garden variety stock fraud with a

                4   little bit of alleged organized crime but Mr. Garafola is not

                5   named in that part of the indictment that says people from

                6   organized crime, these buzz words, were used to protect this

                7   enterprise.   He's not even named in that and he's not even

             8      named in the enterprise, so I think even under Rule 8 and I

             9      think that gets me somewhere, under Zafiro because Zafiro

           10       assumes that you're properly joined under Rule a and I say

           11       Counts -- what is it, Nineteen and Twenty.


,•.·'
           ''                THE COURT:    Yes.


           ''                MR. ROSEN:    Sir, are not properly joined certainly as

           14       to Mr. Garafola and the cases, the two cases that the

           15       government cites in its brief, I think it is the Scarpa case

           16       and I think this Court is pretty familiar with most of these

           17       citations, you're talking about somebody that's an integral

           18       part of the central core of the crime.          Here Mr. Garafola has

           19       no connection in this indictment with what this case is about

           20       and that's stock fraud.

           21                Judge, what that brings me to and I guess there's

           22       always a first even after 36 years, I did not receive the

           23       motions made by Mr. Roth, my co-counsel, who represents

           24       Mr. Ray, I didn't know until last week or the week before that

          25        Mr. Ray has made a motion for also a severance claiming that


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      1   he is a government informant or was a government informant and

      2   that my client allegedly threatened his life.               I learned that

      3   when I read Mr. Corngold's answer to the motions and I

      4   wondered, well, what's going on here,             l called Mr. Roth, he

      5   was very gracious and he faxed me and sent me his motion

      6   papers.     They were filed I think in November, I got them last

      7   week.     Clearly, Your Honor, if you want to talk about trial

      8   rights or prejudice under trial rights, clearly if Mr. Ray and

      9   Mr. Garafola are left in this case, they just can't go to

    10    trial together,

    11                It looks like from Mr, Roth's moving memorandum.that

    12    Mr. Ray contemplates taking the stand, defending himself and

    13    testifying that Mr. Garafola put a contract out on him which

    14    is his position, certainly nothing we acknowledge or agree

    15    with but I didn't brief that extensively because I just didn't

    16    know about it and I'm not blaming anybody but that's just the

    17    way it happened.       I don't know if there is a policy of not

    18    advising co-counsel whose client you've accused of having put

    19    out a contract, maybe you don't send him the papers but I

    20    didn't get the papers.        Again, I'm not blaming Mr. Roth, he's

    21    been very cooperative with me since I learned it.                At least

    22    now I can stand before this Court and say clearly there should

    23    be a consideration, the Court should exercise its discretion

    24    and sever Mr. Garafola if there's going to be any proof at a

    25    trial that Mr. Garafola allegedly put out a contract, as


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         1    Mr. Ray so succinctly puts it in his moving affidavit.

        2                So, I think, Judge, you have the papers and we've
        3     taken a lot of time in graphically showing where Mr. Garafola

        4     is and isn't and you probably hear this all the time, I'm sure

        5    you do, everybody wants a severance.         Well, I understand that

        6    but it's not a severance in terms of, well, it's easier to get

        7    acquitted, it is a severance because he doesn't belong in a

        8    securities fraud indictment sitting maybe for a couple of

        9    months when there's vast testimony about money laundering

    10       which he's not charged with, securities fraud which he's not

    11       charged with, RICO which he's not charged with, etc.             You've

    12       heard it before but this is maybe one of the first times that

    13       I really feel candid about saying this to this court, he just

    14       doesn't belong in here under either Rule 8 or Rule 14.

    15                   And just on the back part of the motions that I made,

    16       the motion for suppression, you've read the papers on that.                 I

    17       thought Your Honor signed an order, I may be mistaken, I don't

    18       think so.     I thought Your Honor did sign an order, that's what

    19       I just want to call to the Court's attention, and I have it,

    20       perhaps it got lost in the shuffle, Your Honor, but my belief

   21        is that Your Honor signed an order on November 28, 2000, a

   22        scheduling order setting down a suppression hearing and I

   23        thought, not that I'm asking for it today for several reasons

   24        but I thought I had gotten to the initial stage where we were

   25        going to have a hearing.


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      1              I think that if Your Honor has some trepidation about

      2   that, I can articulate again why I think under this unusual
      3   circumstance we should have a hearing even though it is a
      4   consensual tape and I've never done that before, move to

      5   suppress a consensual tape but I've just learned, again, maybe
      6   I'm just not in the loop as I used to be, Judge Glasser, but I

      7   just learned that there are extensive electronic surveillance

      8   of Mr. Garafola that I haven't been afforded and I'm going to

      9   talk to Mr. Corngold about that, I'm not going to waste

    10    everybody's time but, again, it may be that may have been the

    11    source of how come this agent and this undercover happened to

    12    show up where Mr. Garafola was one morning.

    13               But I think the question of severance, Judge, is

    14    paramount in my mind at this moment and l would ask Your Honor

    15    if you have any questions about our application for the

    16    severance, I think in my brief career this is the best factual

    17    and legal basis I've seen for a severance in a case such as

    18    this.   Thank you, Your Honor.

    19               THE COURT:     Mr. Corngold, do you want to respond when

    20    all the severance motions are made or do you want to respond

    21    to each as they're made?

    22               MR. CORNGOLD:      Let me respond, I think it actually

    23    makes sense to respond particularly to Mr. Garafola's

    24    severance motion, though I do think that the issues that the

    25    other defendants raise touch on that.


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                                                                                                  ''
                        1              If the Court will indulge me, let me just take a

                        2    minute or two to describe how the U.S. Bridge of New York

                        3    fraud evidence and money laundering evidence fits together and

                        4    fits in with Mr. Garafola, the charges against Mr. Garafola.

                        5    The U.S. Bridge of New York was one of the four say central

                        6    securities manipulation, securities fraud that are charged in
                        7    this indictment that this enterprise is alleged to have

                        8    manipulated and then laundered the proceeds of.           The U.S.

                        9    Bridge of New York is owned by Mr. Polito who the indictment

                   10       alleges is a Gambino associate and the government would prove

                   11        that he's closely connected to Mr. Garafola who is a Gambino

.   ·-   .,,       12       soldier.    Mr. Polito owns the company, as the indictment

                   13       alleges; Mr. Lombardo, another defendant in the case who's

                   14       alleged to be a Bonanno associate, brought Mr. Ray in to the

                   15       deal,   to the conspiracy.    The idea was that to facilitate the

                   16       U.S. Bridge of New York manipulation, to make it a stock that

                   17       could be sold and could be manipulated, there was the idea

                   18       that it would be useful to have bonding.          U.S. Bridge of New

                   19       York was a construct.ion company and the bonding would permit

                   20       --. would arguably permit U.S. Bridge of New York to bid on

                  21        larger contracts.   Mr. Lombardo, the alleged Bonanno
                  22        associate, brought Mr. Ray in to be bribed, basically to get

                  23        $100,000 to pay a bribe to achieve the bonding.           Mr.   Polito

                  24        pays the bribe, the U.S. Bridge of New York IPO happens, the

                  25        manipulation happens but the bonding doesn't occur.             So, what


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                ' happens is, and this is where Mr. Garafola comes into the
                2    picture, Mr. Garafola on behalf of Mr. Polito begins to seek
                3    to extort Mr. Ray, I mean the White Rock Partners, seeks to

               ' get the money back that Mr. Polito spent and there will be
               ' evidence about the extortion, that's the last two counts
               6    in the indictment, and.the events sort of culminate in


               ' this meeting at a diner where Mr. Garafola is there and
               8    Mr. Garafola's claim to this money, his attempt to extort this

               9    money is essentially arbitrated, if you will, by other

           10       organized crime figures.       Mr. Lombardo is there, the Bonanno

           11       associate; Mr. Montevecchi who is alleged to be a Genovese

           12       soldier is there representing the White Rock Partners.              And

           13       the extortion is essentially arbitrated there.

           14                  _Now, why then is this extortion relevant and why is
           15       it       why should it be part of the entire case?         Well, it goes

           16       to the heart of the U.S. Bridge of New York s~curities fraud.

           17       In order to prove the extortion, we're going to have to show

           18       the bribe, the purpose of the bribe, what Mr. Garafola's claim

          19        to the money is and how that works, so that's all going to be

          20        there.    Plus, and this is really maybe the more important

          21        point, the indictment as a whole alleges that there's this

          22        illegal enterprise and in order for this illegal enterprise to

          23        operate, they need the organized crime people who are alleged

          24        in the indictment to protect, to arbitrate disputes, to

          25        resolve problems because they can't go to the SEC when they've


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                  1    got problems, they can't go to the FBI when they've got

                  2    problems.     So, the indictment alleges a series of times when

                  3    the White Rock Partners use their organized crime connections,

                  4    Mr. Coppa, Mr. Montevecchi, Mr. Persico, Mr. Lombardo, to

                  5    protect them, to arbitrate disputes, to show their power as
                  6    opposed·to the power from the other side.

                  7                Here Mr. Garafola, who is, as I said, alleged to be a

                 B     Gambino soldier and that's why this event, this extortion and

                 9     the resolution of the extortion is at the center of the kind

             10        of conduct that goes on in this indictment, it is one of the

             11        key moments that these -- that the enterprise needed to use

             12        their organized crime associates to resolve the dispute.              so,

             13       that's what it is doing there, that's why it meets the

             14       requirements of Rule B.        It's completely tied in to this U.S.

             15       Bridge of New York manipulation and that's why, respectfully,

             16       we don't believe it makes sense to sever the extortion out.

             ''                  MR. ROSEN:      can I just say a few words in response?

             18       If this alleged extortion is so vital to the U.S. Bridge

            19        counts, why isn't Mr. Garafola in the U.S. Bridge securities

            20        frauds, conspiracy to commit securities frauds, money

            21        laundering of U.S. Bridge funds if it is so vital.            It is not

            22        vital.    The IPO was out already.     I mean, in other words, if

            23        Mr. Garafola went out and stole a car to get to this meeting,

            24        is that part of the conspiracy.       If he's vital, he would be in

            25        the enterprise, he would be in the RICO.


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        1                This is a discrete and separate situation, Judge

        2    Glasser, that will cause Mr. Garafola to sit there for weeks,

        3    months of securities money laundering transactions having

        4    nothing, nothing to do with him and, most respectfully, and

        5    I'm not one to point fingers and I'm not, the indictment does

        6    describe, it does allege A, Band C and Dare alleged

        7    organized crime figures enlisted to protect and promote this

        8    fraud.     Mr. Garafola is not named.     Mr. Corngold left out a

        9    name.     He mentioned a bunch of names, you notice he did not

    10       name Mr. Garafola as being someone allegedly brought in to the

    11      enterprise for the muscle, no.        so, the indictment doesn't

    12      even put him into this and I think that the prejudice is so

    13      severe and so overwhelming in a case such as this that we meet

   14       all the criteria for the Court to exercise its discretion and
   15       sever Mr. Garafola.

   16                   MR.   CORNGOLD:   Judge, I didn't talk about the Ray

   17       aspect of the motions, I don't know if the Court wants me to
   18       now or not.
   ,,                   THE COURT:    I'll hear Mr. Roth first.       I would note,

   20       however, that in paragraph ten of the indictment which ~s

   21       captioned The Enterprise Mr. Garafola is not mentioned as one
   22       of the --
   ,,                   MR.   CORNGOLD:   That's correct and Mr. Rosen is

   24       correct that the government doesn't allege that Mr. Garafola

  25        is one of the alleged organized crime people who are


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        1    protecting the enterprise.       The indictment alleges essentially

        2    that Mr. Garafola was acting on behalf of Mr. Polito, the

        3    owner of U.S. Bridge of New York, one of the manipulated

        4    stocks and that that's the role that he played.            So there's no

        5    dispute that Mr. Garafola -- Mr. Garafola clearly is not

        6    alleged to be a member of the RICO enterprise, he's not in the

        7    substantive or the RICO conspiracy charge but the Court is

        8    familiar with the numerous cases, some of which we cited, that

        9    hold that you don't have to be a charged RICO defendant to be

    10       properly joined or to be properly tried under Rule 14 and I

    11       think that the Scarpa case is a good example of that.

   12                 MR. ROSEN,   Okay -- I don't want to say anymore.

                      THE COURT:   Before we leave this I was curious about

   14       your footnote ten which refers to the Casamento case .on page
   15       36 of your memorandum.

   16                MR. CORNGOLD:     Yes.

   ''                THE COURT:    Is there anything that has occurred since

   18       you prepared this memorandum which would make that footnote of

   19       more than passing relevance at this stage so far as the
   20       severance motion is concerned?


   ''
   22
                     MR. CORNGOLD:     I think I described another point in

            the memorandum, the ongoing plea negotiations.            I can

   23       represent to the Court that the government has              three

  24        defendants have pleaded guilty, one is scheduled to plead

  25        guilty next week.   The government has agreements in principle


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                                                                                  ''
        1    with six other defendants and we're working out the details of

        2    the plea agreement.     We anticipate though, of course,

        3    defendants -- I mean the negotiations may not go exactly the

        4    way that the government anticipates but it's my firm

        5    anticipation that by the end of February there will be between
        6    six and nine defendants who are left in the indictment and

        7   because of that that obviously meets the Casamento numbers but
        8   I can't say today that if we're ten or under.
        ,            THE COURT:     What effect would all that have upon an
    1-0     informed determination of these motions to sever?


   ,,''
                     MR. CORNGOLD:     Well --

                     THE COURT:     The question, Mr. Corngold, is if these

   13       prospective developments would have more than passing

   14       relevance to this severance motion, then it might be prudent

   15       for the Court to defer making a determination with respect to
   16       those severance motions.

   ''                MR. CORNGOLD:     That's what I was going to propose,
   18       Your Honor.   The court has been very indulgent with all the

   19       parties in this case.     What I believe is -- I will represent

   20       that by the end of February, beginning of March the government

   21       will have finished its plea negotiations and what I would

   22       propose is a time in mid-March, early to mid-March by which

   23       the Court could rule on the severance motions as a whole and

   24       also set a trial date.     I would suggest though I do believe

   25       that and we have to get to the Shvarts issue that may have


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                                                                                   ,,
        1    something to do with the scheduling.

        2            THE COURT:     Well, my concern is also I think it is

        3   Section 3161, maybe subdivision (j), somewhere around that, it

        4   is part of the Speedy Trial Act which I think imposes some
        5   limitation upon the determination of motions and I think it

        6   might.be that withholding a determination until some time in

        7   mid-March may collide with,        I think it is (j).

        8            MR. CORNGOLD,      Yes.

        '            THE COURT:     The thought just occurs to me as I'm

    10      discussing this with you,       I may be wrong about the letter.
    ,,               MR. CORNGOLD:      I believe, Your Honor, that the

    12      provision provides 30 days after the motion is completely

    13      briefed and argued though not -- it's really been a long time

    14      since I've looked at it, but not as a requirement but as a

    15      presumption.

    16               THE COURT:     Okay.


    ''               MR. CORNGOLD:      And I think that given the rea$ons

   18       that I've described it makes sense under the (h) (8) provision

   19       for the Court to -- I'm bad with the letters.
   ,,                THE COURT;     It is (h} (8) (A)   I think but I'm just

   21       raising that because I was curious about that footnote, it may

   22       be that all of this would be academic,         I may be able to decide

   23       it without even considering Casamento.
   ,.                Insofar as the severance motion             the suppression

   25       motion, it may be that I issued that order, Mr. Rosen,             I


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•...
                1    generally do as a matter of course with respect to suppression

                2   motions but I will tell you now that I will deny it primarily

                3   on the basis of United States versus Gilette and also because

                4    I think the bases upon which you make that motion are so

                5   purely speculative that I don't think a suppression hearing is

                6   warranted.        I'll deny that motion.


                '               MR. ROSEN:     Thank you.

             8                  THE COURT:     Mr. Ray, insofar as your severance motion

             9      is concerned, that's been submitted, I'll deal with that.


            ''                  MR. SMITH:     Your Honor, David Smith on behalf of

            11      Rocco Basile.       Your Honor, given the posture that Mr. Basile

            12      is in, as I explained to Your Honor before, I would ask that

            13      we be excused.       These matters are no longer relevant to him

            14      assuming he is pleading guilty on Wednesday.
           ,,                   THE COURT:     f   think that's correct.
            ,a                  MR. COR.NGOLD:     Yes, I agree.

                                THE COURT:
           '',a                                By all means.

                                ML Roth.
           ,,                   MR.   ROTH:   Thank you.    Your Hono:.:-, in te:t:ms of Che

           20       severance motion, I adopt many of the arguments that Mr. Rosen

           21       has made.     I think if there are two defendants in this case

           22       that most warrant a severance, they are undoubtedly the two

           23       defendants that are not charged in the RICO count.             There are

           24       19 defendants here, 17 charged with RICO, the only two that

           25       are not a:.:-e Mr. Rosen's client and my client, Mr. Ray.           And I


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        1    think Mr. Rosen is also correct that my client and Mr. Rosen's

        2    client warrant a severance from one another because of the

        3    unique circumstances that these defendants find themselves.

        4             Your Honor, you can tell from my papers that my

        5    client is uniquely situated here.        He not only cooperated with

        6    the FBI for a very extensive period of time ori all sorts of

        7    matters but also cooperated with the FBI in this particular

        8    case against at least one defendant who will be sitting in the

        9    courtroom with him, Mr. Garafola.        As a matter of fact, at one

    10       point and I think it was in 1996 the government engineered a

    11       meeting between my client and Mr. Garafola that was at the

    12      behest of the FBI, it was covered by the FBI, it wasn't

    13      recorded apparently but that meeting exists.

   14                Now, the only reason that my client cooperated at all

   15       was because at some point in 1996 the FBI came to my client

   16       and made certain allegations about threats that were being

   17       made on his life, so at that point he was in a very, very

   18       difficult position and more out of self-preservation than

   19       anything else he decided to cooperate with the FBI and did so
   20       including in this case.

   21                And we've also interposed a public authority defense

   22       here and I've served a notice on-the government of that.              Your

   23       Honor, my concern with respect to Mr. Ray outside of the

  24        obvious, his unique circumstances, is the fact that even if

  25        all of the pleas that Mr. Corngold conjures here, even if they


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         1    all occur, this is going to be a very, very lengthy trial,

         2    literally months I would imagine because we're talking about

        3     not only a RICO conspiracy and an enterprise but we're talking

        4     about four or five or six different conspiracies, we're

        5     talking about four different securities conspiracies, an

        6     extortion conspiracy, a money ~aundering conspiracy and, quite

        7     frankly, Mr. Ray in essence is involved in none of them.              I

        8     know he's alleged to be part of the U.S. Bridge conspiracy but

        9     the U.S. Bridge conspiracy at its core is a stock manipulation
    10        scheme.     My client had nothing to do with stock manipulation,

    11        he had nothing to do with U.S. Bridge.        He was sought out by

    12        U.S. Bridge as an intermediary to go to a bonding company to

    13       get a bond and the allegation is,that he was given money and

   14        that my client got money and in turn was supposed to bribe

   15        somebody in the bonding company.       That is very, very

   16        attenuated from that securities fraud scheme that he's charged

   17        with.    Just like the extortion conspiracy that Mr. Garafola is

   18        involved in, in my view, is very, very, very attenuated.

   19                    My concern is that we're going to be sitting here

   20        and, by the way, about a month and a half ago I called

   21        Mr. Corngold and asked him the same question that Your Honor

   22        did, how many defendants do we have left in this thing, I'm

   23        making a severance motion, how is this sorting out and he told

   24        me, well, I think a month and a half ago, we've got three

  25         pleas.     Well, a month and a half later we have three pleas.              I


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                                                                                   ''
          1    know he's very optimistic about all of this happening but

         2     there's a good possibility I believe, he's been trying to get

         3     these pleas for ten months, this has been going on since March

        4      of the year 2000 and up to this point in ten months he's come
        5      up with three pleas.       This may well be a case where we end up

        6      with 14 or 15 deiendants in this case and we might have a four

        7      month trial and the evidence against Mr. Ray,        if Your Honor

        8      severed Mr. Ray, could be introduced in a three or four day

        9      period.     He is involved in one transaction, a series of about

    J.O        two, maybe three at t'he most meetings that all occurred in

    11         1995.     There are a number of witnesses that the government

    .12        would put on, it could all be done in two or three, maybe four

    13        or five days at the most.       I would like not to be in a

    14        situation where we're sitting here month after month after

   15         month where his name is not mentioned and that's going to

   16         happen because he's not involved in any of these sophisticated

   17         manipulation schemes, he's not involved in any money

   18         laundering schemes, any offshore accounts or anything.            He's

   19         involved in a very finite, very discrete transaction which

   20         could be handled with a minimum number of witnesses and the

   21         entire picture could be developed within a week.
   ,,                     So,   for that reason, Your Honor, even if there are

   23         pleas in the case,     I believe he should be severed plus we have

   24         the public authority defense which, quite frankly,         involves my

  25          client and no one else.      We're going to be off on a frolic of


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               1    our own in this case, Your Honor, if Your Honor permits the

               2    evidence which is going to require me to call a number of the

               3    FBI agents as hostile witnesses who supervised my client and

               4    who made certain promises and guarantees to him.            That's

               5    something that has nothing to do with anybody else in this

               6    Courtroom.     And, by the way, Your Honor, in order for us to

               7    develop his defense of public authority, we're going to have

               8    to develop why he became an informant in the first place and

               9    that, unfortunately, is going to reflect very negatively on

           10       Mr. Rosen's client, I think it is unavoidable and I think.

           11       it's, you know, I'm not here preaching on Mr. Rosen's client's

           12       behalf, Mr. Rosen can do that better than I, but it does

          13        impact on his client in a very, very negative way and I don't

          14        see how the two of them could possibly be tried together

          15       provided Your Honor permits the public authority defense which

          16       I think, quite frankly, Your Honor, is inevitable here,

          ''                MR. CORNGOLD,     See, I've had many conversations with

          18       Mr. Roth about this public authority defense and I still have

          19       to say, respectfully, that I just don't see, I don't see how

          20       it can stand.     The conduct that Mr. Ray is alleged to have

          21       engaged in in this indictment is in 1995.          At best what

          22       Mr. Roth has is that some time after all that conduct was done

          23       in 1996 Mr. Ray got hearsay information that there may be a

         24        contract out about him by Mr. Garafola and as a result, he
.•:,
         25        decided to cooperate.    There's no -- I guess I just don't see


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                                                                                    ''
          1     how his decision to cooperate in '96 or his attempts to

          2     cooperate or his alleged attempts to cooperate in 1996 can

          3     somehow retroactively affect whether he did the conduct in '95

          4     or not.   So, with all respect, as I said, the government will

         5     move to preclude this public authority defense and I truly
         6     don't see how it can possibly be relevant.

         7                So, what the unique circumstances are here, even if

         8     somehow Mr. -- this hearsay information that there's a threat

         9     one year after the fact on Mr. Ray's life somehow came in, as

     10        far as I can see, .it would be admissible evidence against

     11        both -- against Mr. Garafola, to go back to Mr. Garafola's

     12        seve·rance motion, if Mr. Garafola is making threats a year

     13        later because of a deal gone bad because of relating to the

    14         extortion, it is relevant evidence.       So,   if it's admissible,

    15         it is relevant both for the case against Mr. Garafola and the

    16        case against Mr. Ray.    Zafiro makes clear that the idea of a

    17        severance because evidence is going to be introduced is only

    18        applicable if the evidence is going to be introduced against

    19        one defendant that's inadmissible against another defendant.

    20        Neither Mr. Garafola nor Mr. Ray have made any argument that

    21        this evidence would be admissible for one case but not

   22         admissible for the other case hut, frankly,        I don't see how

   23         that evidence could ever come in to begin with.           So, I just

   24         don't see how this after the fact cooperation is relevant to

   25         the case.   I don't see how this threat evidence is relevant


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         1     only for one defendant and not for another defendant.             If it

         2     is somehow relevant or his attempts to cooperate, it is really

         3     a garden variety situation which happens all the time where

         4    defendants seek to cooperate after the fact, maybe make

         5    proffer statements and then for whatever reason decide not to

        6,    cooperate and go to trial.         There's nothing unusual about that
        7     here.

        8                THE COURT:     Mr. Roth, if what I'm hearing from

        9     Mr. Corngold is correct that the public authority basis or

    10        defense basis is predicated upon conduct which comes after the

    11        conduct which is alleged in this indictment, then how would

    12        that be at all relevant if it were offered and if a motion in

    13        limine were to be made, I'm not deciding it now, it hasn't

    14        been made, but for purposes of your argument, what would the
    15        relevance of that evidence be?
    ,,                  MR. ROTH:     Well, Judge, let me just add a few facts

   17        which I think are relevant and which I alluded to in my papers

   18        but I neglected to add orally.         My client did not start

   19        cooperating until 1996.       After he did cooperate he was fully

   20        debriefed about everything that happened in 1995 by the FBI on
   21        numerous occasions.

   22                   THE COURT,     This was in 1996?
   23
                        MR. ROTH:     In 1996.   He was told by the FBI that if

   24        he continued to cooperate and his cooperation was extensive

  25         after 1996 and did include matters within this indictment, he


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         1    was told that he would not only not be prosecuted, he wouldn't

         2    have to testify.      That promise I would suggest by the FBI is

         3    highly relevant on a public authority defense and he

         4    cooperated with the express promise by the FBI that if he did

         5    so and, in fact, was under the impression that he was risking

         6    his life while he was doing it, he wouldn't be prosecuted on

         7    this case.    The FBI and the United States Attorney's Office

         8    then reneged on that promise and, therefore, he was indicted I

         9    guess in 2000 and he finds himself here today.

     10                 His cooperation was very extensive in this case.

     11      Mr. Corngold tries to create the impression that by the time

     12      he cooperated this case was over.         That's not true.       He met

     13      with Mr. Garafola in this case surveilled by the FBI in this

     14      case.   He went to Russia on behalf of the FBI in this case to

    15       bring Mr. Felix Sater, an unindicted co-conspirator and

    16       cooperator with the government, an individual who is going to

    17       testify, he went to Russia at the behest of the FBI to bring

    18       him back to the United States.       Now, the FBI has conveniently

    19       lost all records.      I've requested in discovery pursuant to

    20       Rule 16 all records of his cooperation, 302s.            They don't have

    21       anything but his cooperation did exist, we can prove it

    22       independently and he was promised a walk on this case which he
    23       did not get.

    24                 THE COURT:    Mr. Roth, I'm just thinking aloud, if

   25        what you say is correct, is there some basis for a motion by


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          1    you to dismiss the indictment against Mr. Ray by way of
          2    enforcing a promise which you believe you can establish or by

          3    way of enforcing a promise that he would not be called as a
         4     witness?

                          MR. ROTH,     I mean I already know what the

         6     government's answer is, Your Honor; their response is he

         7     didn't tell them the truth, therefore, he violated the

         8     agreement, therefore, he was prosecuted.
         ,                THE COURT:    Well, I don't know what the government's

     10       answer is, all I know is what I'm hearing hear from you,

     11       Mr. Roth, but I have a recollection going back nearly twenty

     12       years, it was the first major criminal case that I had, it was

     13       the Cunningham case, president of the union and two

     14       co-defendants and as I recall it, there was a gentleman whose

     15       name I can't remember who was promised by the government that

     16       in the event he provided information, he would not be called

    17        as a witness and then was subpoenaed and a motion was made to

    18        quash the subpoena which was argued rather vigorously and I

    19        granted that motion having found that there was such a promise

    20        which causes me to think that if everything you say is true

    21        and there was some agreement, maybe you have some remedy with

    22        respect to that.

    23                 MR. ROTH,       Judge, I will concede --

    24                 THE COURT,       It might be worth testing.

    25                 MR. ROTH,       I will concede two things, Your Honor;


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         1   number one, that agreement was obviously not in writing or I'd

         2   be in a position

         3            THE COORT,     It is not a statute of frauds problem.


         '            MR. ROTH:     And number two, the United States

         5   Attorney's Office clearly at the time it was made was not a

         6   party to that promise.      So, I hear what Your Honor iS saying

         7   and perhaps I'll supplement my pretrial motions if Your Honor

      8      would permit.

      9               THE COURT,     What you're saying, Mr. Roth, reflects

     10      rather seriously and badly upon a government agency, I mean I

     11      hear this very frequently from defense counsel that the

     12      government is acting in a rather unlawful, venal, dishonest

     13      corrupt way, that argument is almost standard in many cases

     14      which I hear by defense counsel and if there is some merit to

     15      that, then perhaps the Court ought to be given an opportunity

     16      to determine whether there is or isn't some merit to that,

     17      But, in any event, if there's nothing else that you want to

     18      add, I'll permit Mr. Corngold.

     19               MR. CORNGOLD,      If I could just say three things about

    20       what Mr. Roth said.     First, the converse of what the Court is

    21       saying which I think is clear is that even if there is a

    22       motion to be made to compel the enforcement of a contract or

    23       having to do with the government's misbehavior here, that's

    24       just not jury evidence, that's not a jury question, it is a

    25       court question and it goes -- it doesn't go at all to the


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           l   iss ue of gu ilt or inn oc
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           '              THE COURT:      W ell , it 's no t a qu es
                                                                     tio n of gu ilt or
           3   inn oc en ce , we 're de ali
                                            ng wi th a se ve ra nc e mo
                                                                        tio n.
           4             MR. CORNGOLD,         Th at' s co rre ct tho ug h
                                                                             it is al so tie d
          5  in to th e di sc ov er y mo
                                            tio n an d it is re le va nt
                                                                             to th e se ve ra nc e
         6  mo tio n be ca us e th e pr em
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                                                                             rt of th e
         7  pr em ise of th e mo tio n
                                           is th er e's go ing to be
                                                                          al l of th is ug ly
         8  ev ide nc e in tro du ce d th
                                           at on ly re la te s to Mr
                                                                        . Ra y th at ar gu ab ly
         9  is da ma gin g to Mr . Ga
                                          ra fo la an d it 's ou r po
                                                                        sit io n sim ply th at
       10 th is ev ide nc e is
                                   ju st no t ad mi ss ib le ev
                                                                  ide nc e in a tr ia l,
       11 ei th er a jo in t tr ia
                                      l or a se ve re d tr ia l.
                                                                      I ju st wa nt to sa y
       12 tw o ot he r th in gs ,
                                    I th in k we 've sa id in
                                                                   th e pa pe rs bu t ju st to
       13 ma ke it cl ea r, it
                                    is sim ply no t tru e th
                                                                 at th e go ve rnm en t se nt
      14 Mr . Ra y to Ru ssi a
                                    to br in g Mr . Sa te r ba
                                                                 ck an d it is sim pl y no
                                                                                               t
      15 tru e th at th e go
                                ve rnm en t co nv en ien tly
                                                               lo st al l th e re co rd s.
      16 Th e go ve rnm en t ha s
                                     di sc lo se d to Mr . Ro th
                                                                    al l th e re le va nt 30 2s
      17 th at ha ve to do wi
                                   th de br ie fin gs th at oc
                                                                  cu rre d in th is '96
     18 pe rio d ab ou t th es
                                 e ma tte rs an d it 's ju
                                                               st im po rta nt I th in k
                                                                                           fo r
     19 th e go ve rnm en t to
                                   sa y th at th os e tw o sta
                                                                 tem en ts ar e ju st no t
     20 tru e.

     ,1               THE COURT,      Ok ay .   An yth ing el se ?


    ,,''
                      MR. ROTH,      Th an k yo u, JU dg e, no ,
                                                                 no th in g.
                      THE COURT:      Th at mo tio n is su bm itt
                                                                  ed .     I th in k th at 's
    24     th e on ly mo tio n yo u ma
                                         de .
    25                MR. ROTH:     No , th at 's no t tru e,
                                                              Yo ur Ho no r, 1 ha ve a

                   HOLLY DRISCOLL, CSR
                                                      OF FIC IA L COURT RE PO
                                                                              RT ER
